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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

  

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UNITED STATES OF AMERICA
SEALED INDICTMENT
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VICTOR ROJAS-BASCOPE,
Defendant. [usec SDNY
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COUNT ONE oT

The Grand Jury charges: |

1. From at least in or about June 2017, up to and
including the date of the filing of this Indictment, in Bolivia
and elsewhere, and in an offense begun and committed out of the
jurisdiction of any particular State or district, VICTOR ROJAS-
BASCOPE, the defendant, who will be first brought to and
arrested in the Southern District of New York, and others known
and unknown, intentionally and knowingly combined, conspired,
confederated, and agreed together and with each other to violate
the narcotics laws of the United States.

2. Tt was a part and an object of the conspiracy
that VICTOR ROJAS-BASCOPE, the defendant, and others known and
unknown, would and did manufacture, possess with intent. to
distribute, and distribute a controlled substance, intending,

knowing, and having reasonable cause to believe that such

 

 

 
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substance would be unlawfully imported into the United States
and into waters within a distance of 12 miles of the coast of
the United States from a place outside thereof, in violation of
Title 21, United States Code, Sections 959(a) and 960 (a) (3).

3. the controlled substance that VICTOR ROJAS-
BASCOPE, the defendant, conspired to manufacture, possess with
intent to distribute, and distribute, was five kilograms and
more of mixtures and substances containing a detectable amount
of cocaine, in violation of Title 21, United States Code,
Section 960 (b) (1) (B) (ii).

(Title 21, United States Code, Sections 812, 959(a), 959(d},
960(a) (3), and 963 (b) (1) (B) (11); Title 18, United States Code,
Section 3238.)

COUNT TWO

The Grand Jury further charges:

4, From at least in or about June 2017, up to and
including the date of the filing of this Indictment, in Bolivia,
the Southern District of New York, and elsewhere, and in an
offense begun and committed out of the jurisdiction of any
particular State or district, VICTOR ROJAS-BASCOPE, the
defendant, who will be first brought to and arrested in the
Southern District of New York, and others known and unknown,
intentionally and knowingly combined, conspired, confederated,

and agreed together and with each other to commit a money

 

 
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laundering offense in violation of Title 18, United States Code,
Section 1956.

5. It was a part and an object of the conspiracy
that VICTOR ROJAS~BASCOPE, the defendant, and others known and
unknown, in an offense involving and affecting interstate and
foreign commerce, would and did transport, transmit, and
transfer, and attempt to transport, transmit, and transfer a
monetary instrument and funds from a place in the United States
to and through a place outside the United States, and to a place
in the United States from and through a place outside the United
States, with the intent to promote the carrying on of specified
uniawful activity -- to wit, (a) the conspiracy to manufacture,
possess with intent to distribute, and distribute cocaine
intending and knowing that such substance would be unlawfully
imported into the United States, charged in Count One of this
Indictment, and (b) offenses against a foreign nation involving
the manufacture, importation, sale, and distribution of a
controlled substance -- in violation of Title 18, United States
Code, Section 1956(a) (2) {A}.

(Title 18, United States Code, Sections 1956(h), 1956(i}),
and 3238.)

 

 

 
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FORFEITURE ALLEGATION AS TO COUNT ONE
6. As a result of committing the controlied
substance offense alleged in Count One of this Indictment,
VICTOR ROJAS-BASCOPE, the defendant, shall forfeit to the United
States, pursuant to Title 21, United States Code, Sections 853

and 970, any and all property constituting or derived from any

 

proceeds obtained directly or indirectly as a result of said
offense and any and all property used or intended to be used in
any manner or part to commit or to facilitate the commission of
said offense that the defendant personally obtained.
FORFEITURE ALLEGATION AS TO COUNT TWO

7. As a result of committing the offense alleged in
Count Two of this Indictment, VICTOR ROJAS-BASCOPE, the
defendant, shall forfeit to the United States, pursuant to Title
18, United States Code, Section 982(a)(1), any and all property,
real and personal, involved in said offense, or any property
traceable to such property, including but not limited to a sum
of money in United States currency representing the amount of

property involved in said offense.
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Substitute Assets Provision

8. If any of the property described above as being

subject to forfeiture, as a result of any act or omission of the

defendant:

 

cannot be located upon the exercise of due
diligence;

 

has been transferred or sold to, or
deposited with, a third person;

has been placed beyond the jurisdiction of
the Court;

has been substantially diminished in value;
or .

has been commingled with other property
which cannot be subdivided without
difficulty;

it is the intention of the United States, pursuant to Title 21,

United States Code,

Sections 853(p) and 970, to seek forfeiture

of any other property of the defendant up to the value of the

above forfeitable property.

(Title 18, United States Code, Section 982;

Title 21, United States Code, Sections 853 and 970; and

  

e 28, United States Code, Section 2461.)

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GEOFFREY/$. BERMAN
United States Attorney
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
— tn -
VICTOR ROJAS~-BASCOPE,

Defendant.

 

SEALED INDICTMENT
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(21 U.S.C. 88 959, 960, and 963; and
18 U.S.C. §§ 1956.and 3238.)

GEOFFREY S. BERMAN
United States Attorney.

 

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